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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF LOUISIANA
                                  LAFAYETTE DIVISION


STATE OF LOUISIANA ET AL                                CASE NO. 6:25-CV-00076

VERSUS                                                  JUDGE DAVID C. JOSEPH

U S DEPT OF COMMERCE ET AL                              MAGISTRATE JUDGE DAVID J. AYO


                          NOTICE OF MOTION SETTING WITHOUT DATE

       The Motion to Intervene (Document No. 30) filed by County of Santa Clara on February 14, 2025
has been referred to Honorable David J. Ayo.

                                                   Deadlines

        Any response to said motion is due within twenty-one (21) days after service of the motion (see LR
7.5). The movant may file a reply within seven calendar (7) days after the memorandum in opposition is
filed. Any further briefing requires leave of Court. LR 7.8 governs the length of the memoranda.
OPPOSITION TO THE MOTION MUST BE FILED TIMELY OR THE MOTION WILL BE
CONSIDERED UNOPPOSED.

                                              No Oral Argument
        It is the policy of the Court to decide motions on the basis of the record without oral argument.
Briefs should fully address all pertinent issues. All parties will be notified if the Court finds oral argument is
necessary. A written ruling will be issued in due course.

ALL DEADLINES SET FORTH IN THE SCHEDULING ORDER SHALL REMAIN IN PLACE
UNLESS OTHERWISE ORDERED BY THIS COURT.

      If the parties resolve any matters raised in this motion, the moving party should immediately notify
chambers at (337) 593-5140.

DATE OF NOTICE: February 18, 2025

                                              Daniel J. McCoy
                                              Clerk of Court
